                    Case 2:14-cr-00024-WKW-SRW Document 97 Filed 09/03/14 Page 1 of 6


A0 245B        (Rev. 09!1 1) Judgmeni in a Criminal Case
               Sheet I



                                            UNITED STATES DISTRICT COURT
                                                           MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                               JUDGMENT IN A CR1 "AINAL CASE
                                    V.                                     )

                         JOHN BARRETT                                                Case Number: 2:14cr024-0 -WKW

                                                                                     USM Number: 15316-002
                                                                           )
                                                                           )          Stephen P. Ganter
                                                                                       e
                                                                                     Dendants Aitontey -
THE DEFENDANT:
   pleaded guilty to count(s)            4 of the Indictment on 05/08/2014
El pleaded nolo contendere to count(s)
   which was accepted by the court.

   was found guilty on count(s)
   abler ii plea 0! not guilty.

The defendant is adjudicated guilty of these o1'fenses

Title & Section                    Nature of Offense                                                        Offens Ended             Count

 18:1029(a)(2); 2                    Access Device Fraud; Aiding and Abetting                                08/232013                4




fl See additional count(s) Oil page 2
      The defendant is sentenced as provided in pages 2 through 6 of this judgnieni. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

U The defendant has been found not guilty on count(s)
   Count(s)     1                                              is   U are dismissed on the motion of the United St[Lles.
          It is ordered that the defendant nust uoitfy the United States attorney for this district within 30 days of any change of name, residence,
orniatluig address until all fines, restitution, costs, and special asseSsments Lmposed b y this judgment are fully aaid. Urdoered to pay restitution,
the defendant must notitv ihe court and United States attorney of material changes in economic circumstances

                                                                          08/19/2014
                                                                           t)aie ui I mi    on A Judgment




                                                                           Signature or    dge


                                                                          W. KEITH WATKINS, CHEF U.S. DI, : TRICT JUDGE
                                                                           Name oi'iudee                             Title oiirdge



                                                                                                                 -   -
                                                                           Dii
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AU 24511         (Rev. 09/I I) 1udriint in a Criminal Case
vi               Sheet 2— lmprisoniiieni

                                                                                                                            Judgment Page: 2 of 6
     DEFENDANT: JOHN BARRETT
     CASE NUMBER: 2:14crO2401WKW


                                                                      IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imrisoned for a
     total term of:
     Time Served (5 months, 21 days)




          El The court makes the following recommendations to the Bureau of Prisons:




              The defendant is remanded to the custody of the United States Marshal.

          El The defendant shall surrender to the United States Marshal for this district:

              El at                                          E a.m.      E p.m.          on

              El as notified by the United States Marshal.


          E The defendant shall surrender for service of sentence at the institution designated by the Bureau of risons;
              El before                    on

              E as notified by the United States Marshal.
              El as notified by the Probation or Pretrial Services Office.



                                                                            RETURN
     I have executed this judgment as follows:




              Defendant delivered on                                                               to

     a-                               -              -        , with a certified copy of this judgment.




                                                                                                             UN1TED STATIi MARSHAL


                                                                                    By
                                                                                                          DEPUTY UNITED ST•TES MARS FIAt
                       Case 2:14-cr-00024-WKW-SRW Document 97 Filed 09/03/14 Page 3 of 6


AU 215B           (Rev 09/11) Judgment in a Criminal Case
vi                Sheci 3— Supervised Release


 DEFENDANT: JOHN BARRETT                                                                                                 Judgment Page: 3 of 6
 CASE NUMBER: 2:14cr024-01-WKW
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release fir a term of:
 3 Years


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance, The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereaRer, as determined by the court.
     j The above drug testing condition is suspended, based on the court's determination that the defendant loses a low risk of
         future substance abuse. (Check, if applicable.)

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous we Ipon. (Check, ([applicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check, ifcpphcable.)

                                                                   the Sex Offendcr Registration and Notification Act (42 U.S.C. § 16901, el seq.)
 E The  defendant shall comply with the requirements of
   as directed by the probation officer, the Bureau of Prisons, or any state sex offender regisiration agene' in which he or she resides,
           works, is a student, or was convicted of a qualifying offense, (Check, ([applicable.)

 D The defendant shall participate in an approved program for domestic violence. (Check, ([applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defend,.-Lt pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that h'e been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      I) the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or 'robation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions if the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall noti1 the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed h, a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shalt not associate with any person convicted of'a
            felony, unless granted permission to do so by the probation officer;
     It)) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer:
     II) the defendant shall notify the probation officer within seventy-two hours ot'being arrested or question J by a law cnforcennt officer:
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of law enfoL'.:emnt agency without the
            permission of the court; and

     13)    as directed by the probation officer, the defendant shall noti third parties of risks that may he occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notific. lion 's and to confirm the
            defendant s compliance sith such notification requirement.
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AO 245H        (Rev. 09/I1) Judgment in a Criminal Case
vi             Sht 3C - Supervised Release

                                                                                                             Judgment Page: 4 of 6
 DEFENDANT: JOHN BARRETT
 CASE NUMBER: 2:14cr024-01-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION
     Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
     include residential or non-residential treatment and testing to determine whether he has reverted to the use of drugs.
     Defendant shall contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

     Defendant shall participate in a mental health treatment program approved by the United States: Probation Office and
     contribute to the cost based on ability to pay and availability of third party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the se:.irch policy of this court.
                      Case 2:14-cr-00024-WKW-SRW Document 97 Filed 09/03/14 Page 5 of 6


AU 24513         (Rev. 09/I1) Judgment in a Criminal Case
V1               Sheet S —Criminal Monetary Penalues

                                                                                                                            Judgment Page: 5of6
     DEFENDANT: JOHN BARRETT
     CASE NUMBER: 2:14cr024-01-WKW
                                                   CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Shet. 6.

                        Assessment                                              Fine                             Restitution
  TOTALS              S 100.00                                              S                                  S $0.00


     E The determinalion of restitution is deferred until - -           -        . An .4 mended Judgment in a Criinina Case f40245C} will he entered
         after such determination.

  El The defendant must make restitution (including community restitution) to the lhllowing payees in the amount listed below.

         If the defendant makes a partial payment, each pa y ee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or pereentae payment column l,elow. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must he paid
         before the United States is paid.

  Name of Payee                                                         Total Loss*                 Restitution Order!! Priority or Percentage




 TOTALS                                                                                    $0.00                    $0.00


 fl Restitution amount ordered pursuant to plea agreement S
         The defendant must pay interest on restitution and a tine of more than S 2,500, unless the restitution or f ie is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3 61 2(f) . All of the payment option:; on Sheet 6 may be subect
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g),

 F­)     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         E the interest requirement is waived for the              D fine       E restitution,
              the interest requirement for the              line        restitution is modified as follows:



* Findin gs for the total armuntoflosses are required under Chaers 109A, 110, 11 OA, and 113A of Title 18 fct' offenses committed on or after
September 13, 1994, but before April 23, 1996.
                   Case 2:14-cr-00024-WKW-SRW Document 97 Filed 09/03/14 Page 6 of 6

AD 245B        (Rev. 09/I1) Judgment in a Criminal Case
VI             Slice[ 6— Schedule of Pavmenls

                                                                                                        Judgment Page 6 of 6
 DEFENDANT:                                                          JOHN                           BARRETT
 CASE NUMBER: 2:14cr024-01-WKW


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, pa y ment of the total criminal monetary penalties is due as i.11ows:

 A          Lump sum payment of 5 100.00 -                         due immediately, balance due

                   not later than     -         -- -                   , or
            Fl in accordance               E C,            D,            E, or           F helow; or

 B          Payment to begin immediately (may be combined with                   El C,           D, or     fl F below); c
 C    fl P'aymenL in equal                            (e.g., wecA'lv, month/v. quarterly) installments of' $                               over a period of
                            (e.g., months or years), to commence         -               (e.g., 30 or 60 days) 'after the dal;.: of this judgment; or

 D    fl Payment in equal                          (.g., weekl y, monthl y, quarterly) installments of $                         over a period of
                          (e.g. months or years), 10 commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    F7 Payment during the term of supervised release will commence within_____             (e.g., 30o,' '0 days.) after release l'rom
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        " Special instructions regarding the payment of criminal monetary penalties:
             All criminal monetary payments arc to be made to the Clerk, United States District Court, Midd I.- District of Alabama, Post
             Office Box 711, Montgomery, Alabama 36101.




 Unless the court has exprcssv ordered otherwise, i('this iudgmcnt imposes imprisonment, payment of crininil monetary penalties is due during
 imprisonment. All erimnal monetary penalties, except those pa y ments made through the Federal Bureau c (Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penaltie: imposed.




 E Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (tncludingde/eridani number), Total Amount, .knt and Several Amount,
      and corresponding payee, i I' appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall fbrfcit the defendant's interest in the following property to the United Slates:
      One Hewlett Packard lap top computer, bearing serial number 2CE2501QVC
      One Hewlett Packard DeskJet printer, bearing serial number CR771250 18V7


Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution inte est, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and COL '(Costs.
